Case: 4:19-cv-01185-JCH Doc. #: 1-1 Filed: 05/03/19 Page: 1 of 31 PageID #: 6




                                                                   EXHIBIT A
Case: 4:19-cv-01185-JCH Doc. #: 1-1 Filed: 05/03/19 Page: 2 of 31 PageID #: 7




                                                                   EXHIBIT A
             Case: 4:19-cv-01185-JCH Doc. #: 1-1 Filed: 05/03/19 Page: 3 of 31 PageID #: 8

             IN THE 11TH JUDICIAL CIRCUIT, ST. CHARLES COUNTY, MISSOURI

Judge or Division:                                              Case Number: 1911-CC00341
TED HOUSE
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
ASHLEY DRACKERT                                                 KEVIN JAMES KASPER
                                                                3930 OLD HWY 94 SOUTH, STE 108
                                                          vs.   SAINT CHARLES, MO 63304
Defendant/Respondent:                                           Court Address:
FORT ZUMWALT R-II SCHOOL DISTRICT                               300 N 2nd STREET
Nature of Suit:                                                 SAINT CHARLES, MO 63301
CC Employmnt Discrmntn 213.111                                                                                               (Date File Stamp)

                                                      Summons in Civil Case
  The State of Missouri to: FORT ZUMWALT R-II SCHOOL DISTRICT
                            Alias:
 555 E TERRA LN
 O'FALLON, MO 63366
       COURT SEAL OF               You are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.
                                     _________4/4/2019______________________ __________/S/ Cheryl Crowder______________________
    ST. CHARLES COUNTY
                                                    Date                                             Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                   ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.




OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 19-SMCC-600              1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                                                                                               54.13, and 54.20; 506.120EXHIBIT
                                                                                                                         – 506.140, andA506.150 RSMo
             Case: 4:19-cv-01185-JCH Doc. #: 1-1 Filed: 05/03/19 Page: 4 of 31 PageID #: 9

             IN THE 11TH JUDICIAL CIRCUIT, ST. CHARLES COUNTY, MISSOURI

Judge or Division:                                              Case Number: 1911-CC00341
TED HOUSE
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
ASHLEY DRACKERT                                                 KEVIN JAMES KASPER
                                                                3930 OLD HWY 94 SOUTH, STE 108
                                                          vs.   SAINT CHARLES, MO 63304
Defendant/Respondent:                                           Court Address:
FORT ZUMWALT R-II SCHOOL DISTRICT                               300 N 2nd STREET
Nature of Suit:                                                 SAINT CHARLES, MO 63301
CC Employmnt Discrmntn 213.111                                                                                               (Date File Stamp)

                                                      Summons in Civil Case
  The State of Missouri to: BOARD OF EDUCATION OF FORT ZUMWALT SCHOOL DISTRICT COUNTY OF
                            Alias:
 555 E TERRA LN
 O'FALLON, MO 63366
       COURT SEAL OF               You are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.
                                     ________4/4/2019_______________________ _____________/S/ Cheryl Crowder______________________
    ST. CHARLES COUNTY
                                                    Date                                             Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                   ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.




OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 19-SMCC-601              1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                                                                                               54.13, and 54.20; 506.120EXHIBIT
                                                                                                                         – 506.140, andA506.150 RSMo
            Case: 4:19-cv-01185-JCH Doc. #: 1-1 Filed: 05/03/19 Page: 5 of 31 PageID #: 10

             IN THE 11TH JUDICIAL CIRCUIT, ST. CHARLES COUNTY, MISSOURI

Judge or Division:                                              Case Number: 1911-CC00341
TED HOUSE
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
ASHLEY DRACKERT                                                 KEVIN JAMES KASPER
                                                                3930 OLD HWY 94 SOUTH, STE 108
                                                          vs.   SAINT CHARLES, MO 63304
Defendant/Respondent:                                           Court Address:
FORT ZUMWALT R-II SCHOOL DISTRICT                               300 N 2nd STREET
Nature of Suit:                                                 SAINT CHARLES, MO 63301
CC Employmnt Discrmntn 213.111                                                                                               (Date File Stamp)

                                                      Summons in Civil Case
  The State of Missouri to: MIKE SWARINGIM
                            Alias:
 555 E TERRA LN
 O'FALLON, MO 63366
       COURT SEAL OF               You are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.
                                     ________4/4/2019_______________________ __________/S/ Cheryl Crowder_________________________
    ST. CHARLES COUNTY
                                                    Date                                             Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                   ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.




OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 19-SMCC-602              1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                                                                                               54.13, and 54.20; 506.120EXHIBIT
                                                                                                                         – 506.140, andA506.150 RSMo
            Case: 4:19-cv-01185-JCH Doc. #: 1-1 Filed: 05/03/19 Page: 6 of 31 PageID #: 11

             IN THE 11TH JUDICIAL CIRCUIT, ST. CHARLES COUNTY, MISSOURI

Judge or Division:                                              Case Number: 1911-CC00341
TED HOUSE
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
ASHLEY DRACKERT                                                 KEVIN JAMES KASPER
                                                                3930 OLD HWY 94 SOUTH, STE 108
                                                          vs.   SAINT CHARLES, MO 63304
Defendant/Respondent:                                           Court Address:
FORT ZUMWALT R-II SCHOOL DISTRICT                               300 N 2nd STREET
Nature of Suit:                                                 SAINT CHARLES, MO 63301
CC Employmnt Discrmntn 213.111                                                                                               (Date File Stamp)

                                                      Summons in Civil Case
  The State of Missouri to: MIKE MACCORMACK
                            Alias:
 555 E TERRA LN
 O'FALLON, MO 63366
       COURT SEAL OF               You are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.
                                     _______4/4/2019________________________ _____________/S/ Cheryl Crowder__________
    ST. CHARLES COUNTY
                                                    Date                                             Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                   ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.




OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 19-SMCC-603              1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                                                                                               54.13, and 54.20; 506.120EXHIBIT
                                                                                                                         – 506.140, andA506.150 RSMo
            Case: 4:19-cv-01185-JCH Doc. #: 1-1 Filed: 05/03/19 Page: 7 of 31 PageID #: 12

             IN THE 11TH JUDICIAL CIRCUIT, ST. CHARLES COUNTY, MISSOURI

Judge or Division:                                              Case Number: 1911-CC00341
TED HOUSE
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
ASHLEY DRACKERT                                                 KEVIN JAMES KASPER
                                                                3930 OLD HWY 94 SOUTH, STE 108
                                                          vs.   SAINT CHARLES, MO 63304
Defendant/Respondent:                                           Court Address:
FORT ZUMWALT R-II SCHOOL DISTRICT                               300 N 2nd STREET
Nature of Suit:                                                 SAINT CHARLES, MO 63301
CC Employmnt Discrmntn 213.111                                                                                               (Date File Stamp)

                                                      Summons in Civil Case
  The State of Missouri to: SCOTT GRASSER
                            Alias:
 555 E TERRA LN
 O'FALLON, MO 63366
       COURT SEAL OF               You are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.
                                     ________4/4/2019_______________________ ______________/S/ Cheryl Crowder__________________
    ST. CHARLES COUNTY
                                                    Date                                             Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                   ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.




OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 19-SMCC-604              1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                                                                                               54.13, and 54.20; 506.120EXHIBIT
                                                                                                                         – 506.140, andA506.150 RSMo
            Case: 4:19-cv-01185-JCH Doc. #: 1-1 Filed: 05/03/19 Page: 8 of 31 PageID #: 13

             IN THE 11TH JUDICIAL CIRCUIT, ST. CHARLES COUNTY, MISSOURI

Judge or Division:                                              Case Number: 1911-CC00341
TED HOUSE
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
ASHLEY DRACKERT                                                 KEVIN JAMES KASPER
                                                                3930 OLD HWY 94 SOUTH, STE 108
                                                          vs.   SAINT CHARLES, MO 63304
Defendant/Respondent:                                           Court Address:
FORT ZUMWALT R-II SCHOOL DISTRICT                               300 N 2nd STREET
Nature of Suit:                                                 SAINT CHARLES, MO 63301
CC Employmnt Discrmntn 213.111                                                                                               (Date File Stamp)

                                                      Summons in Civil Case
  The State of Missouri to: JOHN CALLAHAN
                            Alias:
 555 E TERRA LN
 O'FALLON, MO 63366
       COURT SEAL OF               You are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.
                                     _______4/4/2019________________________ ______________/S/ Cheryl Crowder_______________
    ST. CHARLES COUNTY
                                                    Date                                             Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                   ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.




OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 19-SMCC-605              1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                                                                                               54.13, and 54.20; 506.120EXHIBIT
                                                                                                                         – 506.140, andA506.150 RSMo
            Case: 4:19-cv-01185-JCH Doc. #: 1-1 Filed: 05/03/19 Page: 9 of 31 PageID #: 14

             IN THE 11TH JUDICIAL CIRCUIT, ST. CHARLES COUNTY, MISSOURI

Judge or Division:                                              Case Number: 1911-CC00341
TED HOUSE
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
ASHLEY DRACKERT                                                 KEVIN JAMES KASPER
                                                                3930 OLD HWY 94 SOUTH, STE 108
                                                          vs.   SAINT CHARLES, MO 63304
Defendant/Respondent:                                           Court Address:
FORT ZUMWALT R-II SCHOOL DISTRICT                               300 N 2nd STREET
Nature of Suit:                                                 SAINT CHARLES, MO 63301
CC Employmnt Discrmntn 213.111                                                                                               (Date File Stamp)

                                                      Summons in Civil Case
  The State of Missouri to: CRAIG MOORE
                            Alias:
 555 E TERRA LN
 O'FALLON, MO 63366
       COURT SEAL OF               You are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.
                                     ______4/4/2019_________________________ ______________/S/ Cheryl Crowder________________
    ST. CHARLES COUNTY
                                                    Date                                             Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                            _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                   ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.




OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 19-SMCC-606              1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                                                                                               54.13, and 54.20; 506.120EXHIBIT
                                                                                                                         – 506.140, andA506.150 RSMo
            Case: 4:19-cv-01185-JCH Doc. #: 1-1 Filed: 05/03/19 Page: 10 of 31 PageID #: 15

             IN THE 11TH JUDICIAL CIRCUIT, ST. CHARLES COUNTY, MISSOURI

Judge or Division:                                              Case Number: 1911-CC00341
TED HOUSE
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
ASHLEY DRACKERT                                                 KEVIN JAMES KASPER
                                                                3930 OLD HWY 94 SOUTH, STE 108
                                                          vs.   SAINT CHARLES, MO 63304
Defendant/Respondent:                                           Court Address:
FORT ZUMWALT R-II SCHOOL DISTRICT                               300 N 2nd STREET
Nature of Suit:                                                 SAINT CHARLES, MO 63301
CC Employmnt Discrmntn 213.111                                                                                               (Date File Stamp)

                                                      Summons in Civil Case
  The State of Missouri to: ERICA POWERS
                            Alias:
 555 E TERRA LN
 O'FALLON, MO 63366
       COURT SEAL OF               You are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.
                                     ________4/4/2019_______________________ _____________/S/ Cheryl Crowder_______________
    ST. CHARLES COUNTY
                                                    Date                                             Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                   ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.




OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 19-SMCC-607              1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                                                                                               54.13, and 54.20; 506.120EXHIBIT
                                                                                                                         – 506.140, andA506.150 RSMo
            Case: 4:19-cv-01185-JCH Doc. #: 1-1 Filed: 05/03/19 Page: 11 of 31 PageID #: 16

             IN THE 11TH JUDICIAL CIRCUIT, ST. CHARLES COUNTY, MISSOURI

Judge or Division:                                              Case Number: 1911-CC00341
TED HOUSE
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
ASHLEY DRACKERT                                                 KEVIN JAMES KASPER
                                                                3930 OLD HWY 94 SOUTH, STE 108
                                                          vs.   SAINT CHARLES, MO 63304
Defendant/Respondent:                                           Court Address:
FORT ZUMWALT R-II SCHOOL DISTRICT                               300 N 2nd STREET
Nature of Suit:                                                 SAINT CHARLES, MO 63301
CC Employmnt Discrmntn 213.111                                                                                               (Date File Stamp)

                                                      Summons in Civil Case
  The State of Missouri to: TOMMY GEORGE JR
                            Alias:
 555 E TERRA LN
 O'FALLON, MO 63366
       COURT SEAL OF               You are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.
                                     _________4/4/2019______________________ ________________/S/ Cheryl Crowder____________
    ST. CHARLES COUNTY
                                                    Date                                            Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                   ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.




OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 19-SMCC-608              1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                                                                                               54.13, and 54.20; 506.120EXHIBIT
                                                                                                                         – 506.140, andA506.150 RSMo
                                                                                                        Electronically Filed - St Charles Circuit Div - April 02, 2019 - 06:10 PM
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          IN THE CIRCUIT COURT OF SAINT CHARLES COUNTY, MISSOURI
                           CIRCUIT JUDGE DIVISION

ASHLEY DRACKERT,                          )
                                          )
     Plaintiff,                           )
                                          )
FORT ZUMWALT R-II SCHOOL DISTRICT,        )    Case No.:
                                          )
BOARD OF EDUCATION OF                     )
FORT ZUMWALT SCHOOL DISTRICT,             )    Division:
COUNTY OF ST. CHARLES, STATE OF MISSOURI, )
                                          )
MIKE SWARINGIM, Board President,          )
                                          )
MIKE MACCORMACK, Board Vice President,    )
                                          ) DEMAND FOR A JURY TRIAL
SCOTT GRASSER, Board Member,              )
                                          )
JOHN CALLAHAN, Board Member,              )
                                          )
CRAIG MOORE, Board Member,                )
                                          )
ERICA POWERS, Board Member,               )
                                          )
TOMMY GEORGE, JR., Board member,          )
                                          )
     Defendants.                          )

                               PETITION
 FOR VIOLATIONS OF THE MISSOURI HUMAN RIGHTS ACT, THE AMERICAN’S
  WITH DISABILITIES ACT, THE FAMILY MEDICAL LEAVE ACT, FOR JUDICIAL
 REVIEW, FOR BREACH OF CONTRACT, AND FOR VIOLATIONS OF PLAINTIFF’S
                         RIGHT TO DUE PROCESS


       COMES NOW Plaintiff Ashley Drackert, by and through her undersigned attorney, and for

her Petition, states the following:

                                      NATURE OF THE ACTION

     1.        Count I of this Petition is authorized and instituted under the Missouri Human Rights

Act (MHRA), Chapter 213 of the Missouri Revised Statutes; Count II of this Petition is authorized and



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instituted under Title I of the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §

12101, et seq., Count III of this Petition is authorized and instituted under the Family And Medical

Leave Act, 29 U.S.C. § 2615 & 2617 (“FMLA”); Count IV of this Petition is brought for judicial

review pursuant to Sections 168.120 and 536.100 R.S.Mo.; Count V of this Petition is brought for

Breach of Contract under Missouri law; Count VI of this Petition is authorized and instituted under

42 U.S.C. Section 1983 for defendants’ violations of Plaintiffs’ procedural due process rights

under the Fifth and Fourteen Amendments to the U.S. Constitution.



                                          THE PARTIES

     2. Plaintiff, Ashley Drackert is an individual who is and was at all times herein after

mentioned, a resident of the State of Missouri.

     3. Defendant Fort Zumwalt R-Ii School District (hereinafter “District”) is a school district

located in Saint Charles County, Missouri, organized and existing under, and by virtue of, the laws

of the State of Missouri.

     4. Defendant Board of Education of Fort Zumwalt School District, County of St. Charles,

State of Missouri (hereinafter “Board”) is a board of education organized and existing under, and

by virtue of, the laws of the State of Missouri

     5. Defendant Mike Swaringim is an individual who is and was at all times herein after

mentioned, a resident of the State of Missouri, and the Board President for the Board.

     6. Defendant Mike MacCormack is an individual who is and was at all times herein after

mentioned, a resident of the State of Missouri, and the Board Vice President for the Board.

     7. Defendant Scott Grasser is an individual who is and was at all times herein after

mentioned, a resident of the State of Missouri, and Member of the Board.



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      8. Defendant John Callahan is an individual who is and was at all times herein after

 mentioned, a resident of the State of Missouri, and Member of the Board.

      9. Defendant Craig Moore is an individual who is and was at all times herein after

 mentioned, a resident of the State of Missouri, and Member of the Board.

     10. Defendant Erica Powers is an individual who is and was at all times herein after

 mentioned, a resident of the State of Missouri, and Member of the Board.

     11. Defendant Tommy George, Jr. is an individual who is and was at all times herein after

 mentioned, a resident of the State of Missouri, and Member of the Board.



                                       VENUE AND JURISDICTION

     12. Personal jurisdiction and venue are proper because the events described in this Petition

 occurred in Saint Charles County, Missouri.

   13.    Jurisdiction is proper pursuant to the Missouri Human Rights Act, § 213.010 RSMo., et

seq. (MHRA) and §536.140 RSMo.



                                  FACTS COMMON TO ALL COUNTS

     14. Plaintiff holds a certificate of a license to teach in the State of Missouri.

     15. Plaintiff became employed by the Board in 2014.

     16. Plaintiff and has worked in the district at the Mount Hope Elementary School from 2014

 through 2016 as a third-grade teacher and from 2016 through the present as an instructional coach.

     17. Plaintiff has a medical condition which impairs major life functions including working.

     18. The district has known about Plaintiff’s condition for the duration of her employment.




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       19. Plaintiff’s condition requires that she take occasional and intermittent leave to seek

medical treatment and to recover from her condition.

       20. The district has approved Plaintiff medical leaves on numerous occasions.

       21. Plaintiff required surgery on October 26, 2018 for her condition.

       22. The district had approved Plaintiff’s leave through November 9, 2018, prior to her taking

off.

       23. Plaintiff’s physician provided the District information regarding Plaintiff’s condition and

that she needed to be off work during the relevant period.

       24. On November 2, 2018, Dr. Jackie Floyd, the Assistant Superintendent of Personnel for

the District, called Plaintiff with harassing accusations whereby Floyd accused Plaintiff of

engaging in FMLA fraud.

       25. Floyd used a loud, unprofessional and harassing tone during this telephone conversation.

       26. Plaintiff’s mother overheard the conversation and was concerned that it would affect

Plaintiff’s recovery.

       27. Dr. Floyd ordered Plaintiff not to speak with any of her coworkers.

       28. Floyd’s prohibition on Plaintiff’s speaking with her coworkers deprived her of a large

portion of her support network.

       29. The district disclosed issues related to Plaintiff’s condition to Plaintiff’s coworkers;

       30. The District prohibited Plaintiff from entering onto district property.

       31. Floyd instructed Plaintiff to meet with her, the District Superintedent Dr. Bernard

DuBray, and the Principal of Mount Hope Elementary Dr. Tania Farran on November 8, 2018.

       32. At the November 8, 2018 meeting, Dr. Floyd and Dr. DuBray continued their harassing

conduct and told Plaintiff that she had three options, to wit:



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       1) Plaintiff needed to release her medical history from every doctor and every emergency

       room; or

       2) Plaintiff needed to submit her resignation; or

        3) they would submit charges to the school board seeking Plaintiff’s termination.

    33. Dr. DuBray also implied that they would get Plaintiff’s medical records whether she

signed the release or not.

    34. Dubray and Floyd implied that if they brought forth charges then Plaintiff would never

teach again.

    35. Plaintiff requested a written statement from them identifying exactly what she was being

charged with, however, they refused to provide Plaintiff with a written statement of their

accusations.

    36. Dr. DuBray wrote in an email to Plaintiff:

     “You did not receive a letter of charges because we have not filed any charges with the

     Board. That may come later if we cannot arrive at an agreed upon separation. In the mean

     time you need to decide if a resignation is a possibility. We can meet and discuss what that

     might look like. If not we will request a release to talk to all your doctors and obtain medical

     records. If you are unwilling to do that we are prepared to file charges and obtain the

     records. At that time you will receive an official Statement of Charges. Take care.”

    37. They suspended Plaintiff and refused to pay her extra pay that she received for her work

as a science club co-sponsor.

    38. The district discussed plaintiff’s medical condition with her coworkers without her

consent.




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    39. Plaintiff filed a Charge of Discrimination with the Missouri Commission on Human

Rights on November 12, 2018 alleging the district engaged in discrimination and retaliation

against her because of her disability, refused to accommodate her disability and engaged in

violations of the Family Medical Leave Act.

    40. The district further discriminated and retaliated against Plaintiff after she filed the charge

of discrimination.

    41. The board voted on March 19, 2019 not to renew Plaintiff’s contract for next year.

    42. Tenured contracts, such as those between Plaintiff and the Board, automatically renew.

    43. Neither Missouri Law nor the District’s own policies allow the Board to unilaterally vote

to not to renew a tenured contract.

    44. Dr. Floyd sent Plaintiff a letter dated March 19, 2019 whereby she stated:

         “At the meeting of the Board of Education on March 18, 2019, the Board voted, in

executive session, to not renew your contract as a probationary teacher for the 2019-2020 school

year.”

    45. Dr. Floyd had not referred to plaintiff’s position with the Board as a “probationary

teacher” until after she filed her charge of discriminations.

    46. Dr. Floyd had previously determined that Plaintiff qualified as a tenured teacher under

State law and district policies.

    47. The defendants and Dr. Floyd pretended and represented that Plaintiff was no longer a

tenured teacher, despite their prior acknowledgments, to further violate the rights of the Plaintiff

and to serve their own unlawful purpose in that the contracts for non-tenured teachers do not

automatically renew and if Plaintiff was not a tenured teacher, they would not need to file charges

against her and hold a hearing prior to deciding not to renewing her contract.



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    48. The Board and District did not follow their own policies and applicable statutes

regarding the suspension and non-renewal of tenured faculty.

    49. Tenured contracts automatically renew, and the district cannot unilaterally elect not to

renew them.

              COUNT I – VIOLATIONS OF THE MISSOURI HUMAN RIGHTS ACT

    50. Plaintiff restates and incorporates as though fully stated herein, all previous and

subsequent paragraphs of her Petition.

    51. This Petition is brought pursuant to the Missouri Human Rights Act (MHRA), Chapter

213 of the Missouri Revised Statutes.

    52. At all relevant times herein, the Defendants were an employer as defined by the MHRA.

    53. Plaintiff is a member of the class of people intended to be protected by the Missouri

Human Rights Act, including, section 213.010, et seq.

    54. Plaintiff is disabled as defined under the MHRA.

    55. The Plaintiff's disabilities inhibit major life activities including working.

    56. Defendant regarded plaintiff as being disabled.

    57. Defendants subjected Plaintiff to a hostile work environment due to her disability or

perceived disability, requests for reasonable accommodations and complaints regarding the

harassment and discrimination.



       COUNT II -- VIOLATIONS UNDER TITLE I OF THE AMERICANS WITH

                       DISABILITIES ACT OF 1990 – 42 U.S.C. 12101

    58. Plaintiff restates and incorporates as though fully stated herein, all previous and

subsequent paragraphs of her Petition.


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    59. Plaintiff is disabled as defined under the Americans with Disabilities Act of 1990.

    60. The Plaintiff's disabilities inhibit major life activities including working.

    61. The Plaintiff is a member of the class of people intended to be protected by the

Americans with Disabilities Act of 1990, as amended.

    62. At all relevant times herein, the Defendant was an employer as defined by the Americans

with Disabilities Act of 1990, as amended.

    63. Defendant regarded plaintiff as being disabled.

    64. Defendant intentionally engaged in unlawful employment practices in violation of 42

U.S.C. § 12101, et seq., of Title I of the Americans with Disabilities Act of 1990, as amended, by

practices including but not limited to the following:

       a.      Refusing to grant Plaintiff adequate medical leave;

       b.      Requiring Plaintiff to release information regarding her condition not necessary to

grant her accommodations and medical leave;

       c.      Requiring Plaintiff release her medical file;

       d.      Pressuring Plaintiff to resign;

       e.      Disclosing issues related to Plaintiff’s condition to Plaintiff’s coworkers;

       f.      Prohibiting Plaintiff from entering onto school property;

       g.      Prohibiting Plaintiff from speaking with her coworkers;

       h.      Suspending Plaintiff;

       i.      Classifying Plaintiff as a “probationary teacher”;

       j.      Voting to not renew Plaintiff’s contract.




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    65. Defendants subjected Plaintiff to a hostile work environment due to her disability or

perceived disability, requests for reasonable accommodations and complaints regarding the

harassment and discrimination.

    66. As a direct and proximate result of these unlawful employment practices, Plaintiff has

suffered losses of wages, benefits, experience, and career advancement, incurred attorney fees and

also have suffered mental anguish and humiliation.

    67. Because of these damages, Plaintiff is entitled to such affirmative relief as may be

appropriate, including but not limited to reinstatement, lost wages, and benefits in accordance with

the provisions of Title I of the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §

12101, et seq.

    68. Defendant acted with malice and reckless indifference to the rights of Plaintiff.



       WHEREFORE, Plaintiff Ashley Drackert prays this honorable court enter Judgment

against the Defendants and in favor of the Plaintiff, to award the Plaintiff actual damages in the

amount determined at trial but in excess of $25,000.00, for nominal damages in the event no actual

damages are found, for back pay, front pay, for lost benefits, for punitive damages, liquidated

damages, for interest, for her costs and attorney’s fees, for damages for past and future mental

anguish, inconvenience, loss quality of life, and pain and suffering, for interest on all amounts, and

for such other and further relief as the Court deems just and proper.



          COUNT III – VIOLATIONS OF THE FAMILY MEDICAL LEAVE ACT

    69. Plaintiff restates and incorporates as though fully stated herein, all previous and

subsequent paragraphs of her Petition.



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    70. This Count is authorized and instituted under the Family and Medical Leave Act, 29

U.S.C. § 2615 & 2617 (“FMLA”).

    71. Defendant intentionally engaged in unlawful employment practices in violation of

FMLA, including interfering with the Plaintiff’s exercise of her rights under the FMLA, and in

retaliation for her exercising her rights under the FMLA, by practices including but not limited to

the following:

           a. Refusing to grant Plaintiff adequate medical leave;

           b. Requiring Plaintiff to release information regarding her condition not necessary to

                 grant her accommodations and medical leave;

           c. Requiring Plaintiff release her medical file;

           d. Pressuring Plaintiff to resign;

           e. Disclosing issues related to Plaintiff’s condition to Plaintiff’s coworkers;

           f. Prohibiting Plaintiff from entering onto school property;

           g. Prohibiting Plaintiff from speaking with her coworkers;

           h. Suspending Plaintiff;

           i. Classifying Plaintiff as a “probationary teacher”;

           j. Voting to not renew Plaintiff’s contract.

    72. Defendants subjected Plaintiff to a hostile work environment due to her requests for

medical leave, complaints regarding the harassment and violations of her rights under the FMLA.

    73. Defendant acted with malice and reckless indifference to the rights of Plaintiff.



       WHEREFORE, Plaintiff Ashley Drackert prays this honorable court enter Judgment

against the Defendants and in favor of the Plaintiff, to award the Plaintiff actual damages in the



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amount determined at trial but in excess of $25,000.00, for nominal damages in the event no actual

damages are found, for back pay, front pay, for lost benefits, for punitive damages, liquidated

damages, for interest, for her costs and attorney’s fees, for damages for past and future mental

anguish, inconvenience, loss quality of life, and pain and suffering, for interest on all amounts, and

for such other and further relief as the Court deems just and proper.




                            COUNT IV– JUDICIAL REVIEW

    74. Plaintiff restates and incorporates as though fully stated herein, all previous and

subsequent paragraphs of her Petition.

    75. This count is brought pursuant to Sections 168.120 and 536.100.

    76. Defendant Board of Education of Fort Zumwalt School District, County of St. Charles,

State of Missouri (hereinafter referred to as the “Board”) is a Board of Education as defined

Section 168.104 R.S.Mo. for the Fort Zumwalt School District

    77. Sections 168.102 to 168.130 shall be known and may be cited as the "Teacher Tenure

Act". Section 168.102 R.S.Mo.

    78. Plaintiff has had a valid teaching certificate with the State of Missouri.

    79. Plaintiff worked in positions regularly required to be certified under laws relating to the

certification of teachers at St. Margaret of Scotland School in Saint Louis, Missouri from 2012 to

2014.

    80. Plaintiff has worked for the Fort Zumwalt School District in a position regularly required

to be certified under laws relating to the certification of teachers from 2014 to the present (April

2019).



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    81. Section 168.104 R.S.Mo. defines “Teacher” as “any employee of a school district, except

a metropolitan school district, regularly required to be certified under laws relating to the

certification of teachers, except superintendents and assistant superintendents but including

certified teachers who teach at the prekindergarten level in a nonmetropolitan public school within

a prekindergarten program in which no fees are charged to parents or guardians.”

    82. Section 168.104 R.S.Mo. defines “Probationary teacher", any teacher as herein defined

who has been employed in the same school district for five successive years or less. In the case of

any probationary teacher who has been employed in any other school system as a teacher for two

or more years, the board of education shall waive one year of his probationary period;

    83. Section 168.104 R.S.Mo. defines “Permanent teacher” any teacher who has been

employed or who is hereafter employed as a teacher in the same school district for five successive

years and who has continued or who thereafter continues to be employed as a teacher by the school

district or any supervisor of teachers who was employed as a teacher in the same school district for

at least five successive years prior to becoming a supervisor of teachers and who continues

thereafter to be employed as a certificated employee by the school district; except that, when a

permanent teacher resigns or is permanently separated from employment by a school district, and

is afterwards reemployed by the same school district, reemployment for the first school year does

not constitute an indefinite contract but if he is employed for the succeeding year, the employment

constitutes an indefinite contract; and except that any teacher employed under a part-time contract

by a school district shall accrue credit toward permanent status on a prorated basis. Any

permanent teacher who is promoted with his consent to a supervisory position including principal

or assistant principal, or is first employed by a district in a supervisory position including principal

or assistant principal, shall not have permanent status in such position but shall retain tenure in the



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position previously held within the district, or, after serving two years as principal or assistant

principal, shall have tenure as a permanent teacher of that system

  84.     Plaintiff is a “Teacher” as defined by Section 168.104 R.S.Mo.

  85.     Plaintiff is a “Permanent teacher” as defined by Section 168.104 R.S.Mo.

  86.     The District’s Policy GCG - Professional Staff Probation and Tenure defines

“Permanent or Tenured Teacher” as “A teacher who meets the definition of a "permanent"

teacher in the Missouri Teacher Tenure Act, including “Teachers who have been employed in

any other school system as a teacher for two (2) or more years, who have been employed as a

teacher in the district for four (4) successive years and who continue to be employed by the

school district.”

    87. The Districts Rule GCG - Professional Staff Probation and Tenure defines “Teacher” as

“Any employee of a school district, regularly required to be certified under laws relating to the

certification of teachers, except superintendents, assistant superintendents and any other persons

regularly performing supervisory functions as their primary duty, but including certified teachers

who teach at the pre-kindergarten level.”

    88. On or about September 24, 2018, Plaintiff Ashley Drackert and the Board entered

into an agreement titled “TEACHER’S EMPLOYMENT CONTRACT (Tenure Contract)”

(hereinafter referred to as “Contract”).     See Ex. 2 attached hereto and incorporated by

reference.

    89. The Contract is an “Indefinite contract” as defined by Section 168.104 R.S.Mo.

    90. The Contract specifies:

    “It is hereby agreed by and between ASHLEY L. DRACKERT the teacher (hereinafter

    referred to as the “Teacher”), and the Board of Education of Fort Zumwalt School District,


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 County of St. Charles, State of Missouri (hereinafter referred to as the “Board”), the

 employer, that the Teacher, beginning on the 8th of August, 2018, shall serve in the

 employ of the Board and its successors for a term of 184 days, for an annual compensation

 of $49,910.00 to be paid to the Teacher in twenty-four (24) equal installments, according

 to Board policies and regulations, less the contributions required by law and those

 authorized by the Teacher.

 It is further agreed by the parties hereto that this contract shall continue in force from year

 to year, until modified or terminated in accordance with the provisions of the Teacher

 Tenure Act, and any amendments thereto prior to the date of this contract or any annual

 renewal thereof.

 As a condition to employment by the Board, the teacher agrees to obtain prior to the first

 day of service hereunder and to have at all times during the term of this contract a valid

 certificate of license to teach in the public schools of the State of Missouri.

 The policies and regulations of the Board are hereby incorporated by reference into this

 Agreement as if fully set out herein and both the Teacher and Board agree to be bound by

 them.” See Ex. 2 attached hereto and incorporated by reference.


91.    Section 168.106 R.S.Mo. “Indefinite contract, what affects” states:


      “The contract between a school district and a permanent teacher shall be known as an

      indefinite contract and shall continue in effect for an indefinite period, subject only to:


         (1) Compulsory or optional retirement when the teacher reaches the age of retirement

      provided by law, or regulation established by the local board of education;




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            (2) Modification by a succeeding indefinite contract or contracts in the manner

       hereinafter provided;


            (3) The death of the teacher;


            (4) Resignation of the teacher with the written consent of the school board;


               (5) Termination by the board of education after a hearing as hereinafter provided;

            and


               (6) The revocation of the teacher's certificate.”

    92. None of the exceptions to an indefinite contract period specified in Section 168.106

R.S.Mo.     apply to Plaintiff Drackert.

    93. Section 168.110 specifies that the board of education may only modify an indefinite

contract for two reasons, to wit:

       (1) Determination of the date of beginning and length of the next school year;

       (2) Fixing the amount of annual compensation for the following school year as provided

by the salary schedule adopted by the board of education applicable to all teachers. The

modifications shall be effective at the beginning of the next school year. All teachers affected by

the modification shall be furnished written copies of the modifications within thirty days after their

adoption by the board of education.

    94. Neither of the reasons for modification of indefinite contracts outlined Section

168.110 apply to the Board’s unilateral modification of Plaintiff contract by determining to not

renew it.




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    95. Section 168.112 R.S.Mo. “Modification or termination, how” states “An indefinite

contract between a permanent teacher and a board of education may be terminated or modified

at any time by the mutual consent of the parties thereto. Any teacher who desires to terminate

his contract at the end of a school term shall give written notice of his intention to do so and

the reasons therefor not later than June first of the year in which the term ends.”

    96. Plaintiff has never agreed to modify the contract.

    97. On or about March 18, 2019, the Board unilaterally voted to “not renew” Plaintiff’s

contract for the 2019-2020 school year. See Ex. 2 attached hereto and incorporated by

reference.

    98. The Board failed to follow the provisions of the Teacher Tenure Act when it

unilaterally voted to not renew her contract.

    99. Section 168.120 “Appeal by teacher, procedure” states “The teacher shall have the

right to appeal from the decision of the board of education to the circuit court of the county

where the employing school district is located . . . Such appeal shall be heard as provided in

chapter 536.”



                               COUNT V – BREACH OF CONTRACT

   100. Plaintiff restates and incorporates as though fully stated herein, all previous and

subsequent paragraphs of her Petition.

   101. On or about September 24, 2018, Plaintiff Ashley Drackert and the Board entered

into an agreement titled “TEACHER’S EMPLOYMENT CONTRACT (Tenure Contract)”

(hereinafter referred to as “Contract”).     See Ex. 2 attached hereto and incorporated by

reference.



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102.   The Contract is an “Indefinite contract” as defined by Section 168.104 R.S.Mo.

103.   The Contract specifies:

  “It is hereby agreed by and between ASHLEY L. DRACKERT the teacher (hereinafter

  referred to as the “Teacher”), and the Board of Education of Fort Zumwalt School District,

  County of St. Charles, State of Missouri (hereinafter referred to as the “Board”), the

  employer, that the Teacher, beginning on the 8th of August, 2018, shall serve in the

  employ of the Board and its successors for a term of 184 days, for an annual compensation

  of $49,910.00 to be paid to the Teacher in twenty-four (24) equal installments, according

  to Board policies and regulations, less the contributions required by law and those

  authorized by the Teacher.

  It is further agreed by the parties hereto that this contract shall continue in force from year

  to year, until modified or terminated in accordance with the provisions of the Teacher

  Tenure Act, and any amendments thereto prior to the date of this contract or any annual

  renewal thereof.

  As a condition to employment by the Board, the teacher agrees to obtain prior to the first

  day of service hereunder and to have at all times during the term of this contract a valid

  certificate of license to teach in the public schools of the State of Missouri.

  The policies and regulations of the Board are hereby incorporated by reference into this

  Agreement as if fully set out herein and both the Teacher and Board agree to be bound by

  them.”



  See Ex. 2 attached hereto and incorporated by reference.

 104. Defendants breached the contract by failing to conform to the terms of the agreement by:


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             a. Failing to treat the contract as continuing in force from year to year;

             b. Failing to modify or terminate it in accordance with the provisions of the Teacher

                 Tenure Act;

             c. Failing to follow the policies and regulations of the board in voting to not renew the

                 contract;

     105. Plaintiff performed all of her conditions of the contract.

   106.    Plaintiff has been damaged as a result of Defendants’ breach of the contract and has

sustained and will continue to suffer lost wages and other benefits of employment, diminished

employment opportunities, emotional pain and suffering, mental anguish, inconvenience,

humiliation, embarrassment, loss of enjoyment of life, stress and loss of reputation.

          WHEREFORE, Plaintiff prays the court enter judgment in her favor against the defendants

 in an amount to be determined at trial in excess of $25,000.00, for her costs incurred herein and for

 such other and further relief as the court deems just and proper.



                    COUNT VI – VIOLATION OF DUE PROCESS RIGHTS

     107. Plaintiff restates and incorporates as though fully stated herein, all previous and

 subsequent paragraphs of her Petition.

     108. This count is brought pursuant to 42 U.S.C. Section 1983 for defendants’ violations of

 Plaintiffs procedural due process rights under the Fifth and Fourteen Amendments to the U.S.

 Constitution.

     109. Defendants’ violated Plaintiff’s right to procedural due process by:

             a. failing to give plaintiff proper notice that it would reclassify her status from tenured

                 and permanent teacher to “probationary teacher”;



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           b. failing to give plaintiff a hearing prior to reclassifying her as a “probationary

               teacher”;

           c. failing to give plaintiff proper notice that it would vote to not renew her contract;

           d. failing to give plaintiff a hearing prior to voting to not renew her contract;

           e. failing to give plaintiff a right to present evidence prior to the boards vote to not

               renew the contract with Plaintiff;

           f. failing to give plaintiff an unbiased tribunal;

           g. failing to give plaintiff a right to cross examine witnesses;

           h. failing to give plaintiff a decision based on the evidence presented;

           i. failing to give plaintiff a written notice of the reasons it reclassified her as a

               “probationary teacher”;

           j. failing to give plaintiff written notice of the reasons it voted to not renew her

               contract.

   110. Plaintiff had a property interest in her continued employment with the district and Board

as a permanent and tenured teacher.

   111. Defendants' conduct as set forth herein was so outrageous that it shocks the conscience,

was arbitrary and capricious, were truly irrational, offended the judicial notions of fairness and was

otherwise offensive to human dignity.

   112. Plaintiff has been damaged as a result of Defendants’ breach of the contract and has

sustained and will continue to suffer lost wages and other benefits of employment, diminished

employment opportunities, emotional pain and suffering, mental anguish, inconvenience,

humiliation, embarrassment, loss of enjoyment of life, stress and loss of reputation.




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   113. Defendants’ actions as set forth herein were wanton, willful, and showed a reckless

indifference to Plaintiff's constitutional rights as set forth above, justifying an award of punitive

damages and attorneys' fees.




                               DEMAND FOR A JURY TRIAL

       Plaintiff, through counsel, respectfully requests a trial by jury on all issues.



                                                        Respectfully submitted,


                                                        KASPER LAW FIRM, LLC


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                                                        ATTORNEYS FOR PLAINTIFF




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